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 5   Attorney for Defendant
     DAVID TALCOTT USSERY
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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. Cr. S 05-34 LKK
                                     )
12                  Plaintiff,       )      STIPULATION AND ORDER TO REDUCE
                                     )      SENTENCE PURSUANT TO 18 U.S.C.
13        v.                         )      § 3582(c)(2)
                                     )
14   DAVID TALCOTT USSERY,           )      RETROACTIVE CRACK COCAINE
                                     )      REDUCTION CASE
15                  Defendant.       )
                                     )
16   _______________________________ )
17        Defendant, DAVID TALCOTT USSERY, by and through his attorney,
18   Assistant Federal Defender David M. Porter, and plaintiff, UNITED
19   STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney
20   MARY L. GRAD, hereby stipulate as follows:
21        1.   Pursuant to 18 U.S.C. § 3582(c)(2), this court may reduce the
22   term of imprisonment in the case of a defendant who has been sentenced
23   to a term of imprisonment based on a sentencing range that has
24   subsequently been lowered by the Sentencing Commission pursuant to 28
25   U.S.C. § 994(o);
26        2.   The sentencing range applicable to Mr. Ussery was
27   subsequently lowered by the United States Sentencing Commission in
28   Amendment 706 by two levels;
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 1        3.      Accordingly, Mr. Ussery’s offense level has been reduced, and
 2   an appropriate sentence within the new guideline range considering the
 3   factors set forth in 18 U.S.C. § 3553(a) would be 143 months;
 4        4.      Mr. Ussery merits a reduction in his sentence based on the
 5   factors listed in 18 U.S.C. § 3553(a), as well as considerations of
 6   public safety and Mr. Ussery’s positive post-sentencing conduct;
 7        5.      Accordingly, the parties request the court to enter the order
 8   lodged herewith reducing Mr. Ussery’s term of imprisonment to 143
 9   months.
10   Dated:     May 15, 2008
11   Respectfully submitted,
12   McGREGOR SCOTT                            DANIEL J. BRODERICK
     United States Attorney                    Federal Defender
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14
       /s/ Anne E. Pings                         /s/ David M. Porter
15   ANNE E. PINGS                             DAVID M. PORTER
     Assistant U.S. Attorney                   Assistant Federal Defender
16
     Attorney for Plaintiff                    Attorney for Movant
17   UNITED STATES OF AMERICA                  DAVID TALCOTT USSERY
18                                           ORDER
19        This matter came before the Court on the pro se motion of the
20   defendant for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2)
21   filed on March 10, 2008.        The motion is set for hearing on July 8,
22   2008, but because the parties have stipulated to the resolution, the
23   matter is taken off calendar.
24        On September 12, 2006, this Court sentenced Mr. Ussery to a term
25   of imprisonment of 165 months.         The parties agree, and the Court finds,
26   that Mr. Ussery is entitled to the benefit of the retroactive amendment
27   reducing crack cocaine penalties, and that an appropriate sentence
28   within the new guideline range in light of the factors set forth in 18

     STIPULATION AND ORDER TO REDUCE SENTENCE
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 1   U.S.C. § 3553(a) would be 143 months.
 2        IT IS HEREBY ORDERED that the term of imprisonment originally
 3   imposed is reduced to 143 months.
 4        IT IS FURTHER ORDERED that all other terms and provisions of the
 5   original judgment remain in effect.
 6        Unless otherwise ordered, Mr. Ussery shall report to the United
 7   States Probation office closest to the release destination within
 8   seventy-two hours after his release.
 9   Dated:     May 22, 2008
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     STIPULATION AND ORDER TO REDUCE SENTENCE
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